           Case 1:17-cr-00201-ABJ Document 68 Filed 12/01/17 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

               Defendant


        GOVERNMENT’S MEMORANDUM IN OPPOSITION TO DEFENDANT
            GATES’S REQUEST TO MODIFY RELEASE CONDITIONS

       The United States of America, by and through Special Counsel Robert S. Mueller III,

submits this memorandum in opposition to defendant Gates’s motion to modify his conditions of

release. See ECF#67. The defendant provides no basis for his most recent request to be released

from the bail conditions set by this Court. Further, nothing has changed since the defendant’s last

request to attend events for his children. Despite the defendant’s promises to secure an appropriate

bail package that would allow him to leave his residence, he has failed to do so and, as far as the

government is aware, has also failed to make any material advancement in those efforts. * The

defendant has even failed to make available for inspection by the government or properly file the

paperwork with respect to his residence that he previously referenced as “pledged real property.”




       *
          As the government has noted in other filings, see ECF#52 at 4 n.2, the defendant
previously proposed Marc Brown as a surety in this matter despite the fact that they seemingly do
not have a significant relationship, they have not had regular contact over the past ten years, and
Marc Brown currently serves as a surety for his brother Steven Brown (who is a former business
of Gates) in his ongoing criminal prosecution in New York. In an interview with the Special
Counsel’s Office on November 16, 2017, Marc Brown listed as a reason for seeking to support
Gates that they belonged to the same fraternity (although they did not attend the same college) and
that, as such, he felt duty bound to help Gates. Further, Marc Brown’s financial assets were
significantly lower, almost by half, than previously represented by Gates.
          Case 1:17-cr-00201-ABJ Document 68 Filed 12/01/17 Page 2 of 2



See ECF#54 at 1 (“[defendant Gates] and his wife have pledged real property, i.e., their residence,

to secure the bond that has been imposed here”).

       Accordingly, the defendant’s application should be denied consistent with the Court’s prior

rulings that, to be released from his present conditions, “the bond must come first,” because “mere

release on personal recognizance, upon execution of an unsecured appearance bond, would not

reasonably assure the appearance of the defendant.” See ECF#50 (Nov. 16, 2017 Order) at 1.


                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: December 1, 2017                      By:     __/s/__Greg Andres__________________
                                                     Andrew Weissmann
                                                     Greg D. Andres (D.D.C. Bar No. 459221)
                                                     Kyle R. Freeny
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue NW
                                                     Washington, DC 20530
                                                     Telephone: (202) 616-0800

                                                     Attorneys for the United States of America




                                                2
